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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 EDDIE L. BOLDEN,

                       Plaintiff,

         v.                                            No. 1:17-cv-00417

 CITY OF CHICAGO, MICHAEL BAKER,                       Honorable Steven C. Seeger
 GEORGE KARL, EDWARD HICKS,
 MICHAEL KILL, JAMES OLIVER,
 ANGELO PESAVENTO, EDWARD SIWEK,
 BARBARA TEMPLE and AS-YET
 UNKNOWN CURRENT OR FORMER
 EMPLOYEES OF THE CITY OF CHICAGO

                       Defendants.

               DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION
           TO PRECLUDE EVIDENCE OF A SECOND INVESTIGATIVE FILE

        Defendants James Oliver, Angelo Pesavento, Edward J. Siwek, as Special Representative

for the Estate of Edward Siwek, the Estate of George Karl (“Defendant Officers”), and the City of

Chicago (the “City”) (collectively “Defendants”) hereby submit their Response to Plaintiff’s

Motion to Preclude Evidence of a Second Investigative Motion [Dkt. No. 469] (the “Motion”), and

state as follows:

                                      INTRODUCTION

       Defendant Officers should not be precluded from presenting evidence of a second

investigative file at trial. Defendant Officers are not bound by the testimony of the City’s Rule

30(b)(6) witness. At this time, Defendant Officers do not plan to present evidence of a second

investigative file at trial. However, if Defendant Officers decide to present evidence of a second

investigative file, testimony from another party certainly should not preclude Defendant Officers

from presenting such evidence.
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                                               ARGUMENT

        As an initial matter, if the City were a trial Defendant, it would not be bound by its Rule

30(b)(6) representative’s testimony. See A.I. Credit Corp. v. Legion Ins. Co., 265 F.3d 630, 637

(7th Cir. 2001) (a corporate party is not unconditionally bound to its deposition designee’s

recollection). “It is true that that an entity’s Rule 30(b)(6) deposition testimony is binding in the

sense that whatever its deponent says can be used against the organization.” Litterer v. United

States, No. 19 C 5172, 2021 WL 2633315, at *5 (N.D. Ill. June 26, 2021). “But Rule 30(b)(6)

testimony is not ‘binding in the sense that it precludes the deponent from correcting, explaining,

or supplementing its statements.’” Id. (quoting Keepers, Inc. v. City of Milford, 807 F.3d 24, 35

(2d Cir. 2015)).

        “In fact, testimony given pursuant to Rule 30(b)(6) is ‘merely an evidentiary admission,’

and it does not have ‘conclusive effect.’” Id. (quoting Vehicle Mkt. Rsch., Inc. v. Mitchell Int'l,

Inc., 839 F.3d 1251, 1260 (10th Cir. 2016)); see also A.I. Credit Corp., 265 F.3d at 637 (stating

“testimony of Rule 30(b)(6) designee does not bind corporation in sense of judicial admission”).

“Thus, ‘testimony given at a Rule 30(b)(6) deposition is evidence which, like any other deposition

testimony, can be contradicted and used for impeachment purposes.’” Id. (quoting A.I. Credit

Corp, 265 F.3d at 637).

        The case law is clear that, if the City were trying this case, the City would not be precluded

from presenting evidence that contradicts or supplements the City’s Rule 30(b)(6) testimony.

However, Defendant Officers are trying this case, not the City. 1 If the City would not be precluded




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         With respect to Plaintiff’s argument that the City had an “affirmative obligation” to inform Plaintiff
that the City’s 30(b)(6) representative’s testimony was incorrect, there is no obligation because the City is
not taking the position that its representative was incorrect. Motion at 5.
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from presenting this evidence at trial, it stands to reason that the Defendant Officers likewise

should not be precluded from presenting such evidence.

       In Sommerfield v. City of Chicago, the plaintiff similarly moved in limine to bar the

defendant officer from contradicting the City’s Rule 30(b)(6) testimony. No. 08 C 3025, 2014 WL

12802632, at *3 (N.D. Ill. Mar. 18, 2014). The court held that “Seventh Circuit precedent holds

that Rule 30(b)(6) does not absolutely bind a corporate party to its designee's recollection.” Id.

(citing A.I. Credit Corp, 265 F.3d at 637). The court continued: “beyond this issue, Plaintiff has

not shown how Defendant, who did not present or control the 30(b)(6) witness (who was

presumably presented by the City when the City was a party) should be bound in any way by the

testimony of that witness.” Id. Similarly, Defendant Officers should not be bound by the testimony

of the City’s 30(b)(6) witness.

       On a related issue, the City’s Rule 30(b)(6) representative, Mr. Patrick Loftus, whose

testimony is the focal point of the Motion, is unavailable to testify on October 7-8 due to a personal

commitment that he made prior to knowing the firm trial date. Mr. Loftus is available to testify on

October 12-15 and 18-21. Defendants propose a testimonial stipulation stating that if Mr. Loftus

were called to testify, he would testify that it was his belief that the detectives used one investitive

file when investigating these two shootings. With this stipulation, Plaintiff is not prejudiced by

waiting to call Mr. Loftus when he is available to testify next week.

                                          CONCLUSION

       Defendants respectfully request that the Court deny Plaintiff’s Motion to Preclude

Evidence of a Second Investigative File.




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Dated: October 4, 2021

DEFENDANT OFFICERS                      CELIA MEZA
                                        Corporation Counsel of the City of Chicago

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                                CERTIFICATE OF SERVICE

        I, Kyle L. Flynn, an attorney, hereby certify that on October 4, 2021, I caused Defendants’
Response to Plaintiff’s Motion to Preclude Evidence of a Second Investigative File to be
served through the ECF system on all attorneys of record.



                                             /s/ Kyle L. Flynn
